Case 2:04-cr-20472-.]DB Document 31 Filed 04/20/05 Page 1 of 2 Page|D 44

Fu.:r ,_ _%- _
IN THE UNITED STATES DISTRICT COURT /"
FOR THE WESTERN DISTRICT OF TENNESSEE 05 {§PR 2[] PH g.' ;`j
WESTERN DIVISION

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UNITED STATES oF AMERICA, W_D_ OF m MH\‘AF,H¢S
Plaintiff, *

V. * CR. NO. 2:()4cr20472-B
JOHN WAYNE GLENN, *
Defendant. *

 

ORDER GRANTING DEFENDANT'S MOTION TO WAIVE
APPEARANCE AT REPORT

 

For good cause shown, defendant’s request to waive his appearance at report set in this
ease for Monday, April 25, 2005 , at 9:30 a.m. is hereby GRANTED. Defendant shall not be
required to appear at the above report and shall remain on his present bond.

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0110 able J. Daniel Breen\\
ni d States District Judge

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This notice confirms a copy of the document docketed as number 31 in
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Honorable J. Breen
US DISTRICT COURT

